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IN THE UNITED STATES DISTRICT COURT 0 ee
FOR THE NORTHERN DISTRICT OF TEXAS. pip Gi ew AS
FORT WORTH DIVISION © 000 RL 3

UNITED STATES OF AMERICA :

| AWG © 1 eOeA

NO. 4:24-CR-127-P |
LAGE, US) ey PRCT COR

JULIO ADRIAN SANCHEZ (01) p ELEESS a

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Pap

Vv.

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PLEA AGREEMENT WITH WAIVER OF APPEAL

Julio Adrian Sanchez, the defendant; the defendant’s attorney, J. Warren St. John;

and the United States of America (the government) agree as follows:

1, Rights of the defendant: The defendant understands that the defendant

has the rights:
a. to plead not guilty;

b. to have a trial by jury;
c. to have the defendant’s guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to cali witnesses in the
defendant’s defense; and

e. against compelled self-incrimination.
« .

2. Waiver of rights and plea of guilty: The defendant waives these rights

and pleads guilty to the offense alleged in Count Three of the Superseding Indictment,
charging Possession of a Firearm by an [legal Alien, in violation of 18 U.S.C. §§

922(g)(5) and 924(a)(8). The defendant understands the nature and elements of the crime

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to which the defendant is pleading guilty, and agrees that the factual resume the

defendant has signed is true and will be submitted as evidence.

3. Sentence: The maximum penalties the Court can impose include:
a. imprisonment for a period not to exceed fifteen (15) years;
a fine not to exceed $250,000;
c. aterm of supervised release not to exceed three (3) years, which may

be mandatory under the law and will follow any term of
imprisonment. If the defendant violates any condition of supervised.
release, the Court may revoke such release term and require that the
defendant serve an additional period of confinement;

d. a mandatory special assessment of $100;
e. restitution to victims or to the community; and
f. forfeiture of firearms and ammunition.
4. Immigration consequences: The defendant recognizes that pleading

guilty may have consequences with respect to the defendant’s immigration status if the
defendant is not a citizen of the United States. Under federal law, a broad range of
crimes are removable offenses. The defendant understands this may include the offense
to which the defendant is pleading guilty, and for purposes of this plea agreement, the
defendant assumes the offense is aremovable offense. Removal and other immigration
consequences are the subject of a separate proceeding, however, and the defendant
understands that no one, including the defendant’s attorney or the district court, can
predict to a certainty the effect of the defendant’s conviction on the defendant’s
immigration status. The defendant nevertheless affirms that the defendant wants to plead

guilty regardless of any immigration consequences that the defendant’s plea of guilty

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may entail, even if the consequence is the defendant’s automatic removal from the United
States.

5. Court’s sentencing discretion and role of the Guidelines: The defendant
understands that the sentence in this case will be imposed by the Court after consideration
of the United States Sentencing Guidelines. The guidelines are not binding on the Court,
but are advisory only. The defendant has reviewed the guidelines with the defendant’s
attorney, but understands no one can predict with certainty the outcome of the Court’s
consideration of the guidelines in this case. The defendant will not be allowed to
withdraw the defendant’s plea if the defendant’s sentence is higher than expected. The
defendant fully understands that the actual sentence imposed (so long as it is within the
statutory maximum) is solely in the discretion of the Court.

6. Forfeiture of property: The defendant agrees not to contest, challenge, or
appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United
States of any property noted as subject to forfeiture in the indictment or information, or
seized or restrained in the investigation underlying the indictment or information, to
include an HS Produkt, XD45 pistol, .45 caliber, bearing serial number HG149069; a
Browning, A500 shotgun, 12-gauge, bearing serial number 751PR07053; and a Mega
Machine Shop Inc., Gator pistol, multi-caliber, bearing serial number 25948. The
defendant agrees that this property is subject to forfeiture under 18 U.S.C. § 924(d) and
28 U.S.C. § 2461(c). The defendant consents to entry of any orders or declarations of
forfeiture regarding such property and waives any requirements (including notice of

forfeiture) set out in 19 U.S.C. §§ 1607-1609; 18 U.S.C. §§ 981, 983, and 985; the Code

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of Federal Regulations; and Rules 11 and 32.2 of the Federal Rules of Criminal
Procedure. The defendant agrees to provide truthful information and evidence necessary
for the government to forfeit such property. The defendant agrees to hold the
government, its officers, agents, and employees harmless from any claim whatsoever in
connection with the seizure, forfeiture, storage, or disposal of such property.

7. Defendant’s agreement. The defendant shall not knowingly provide false
information to the U.S. Probation Office (USPQ), the Court, or the government relating
to the offense(s) of conviction and all relevant conduct, or any information the defendant
must provide related to this agreement.

8. Mandatory special assessment: The defendant agrees to pay the U.S.
District Clerk the amount of $100 in satisfaction of the mandatory special assessment(s).

9. Financial Obligations: The defendant understands that any financial
obligation imposed by the Court for restitution, fines, or special assessments is due and
payable immediately. In the event the Court imposes a schedule for payment, the
defendant agrees that such a schedule represents a minimum payment obligation and does
not preclude the U.S. Attorney’s Office from pursuing any other means by which to
satisfy the defendant’s full and immediately enforceable financial obligation. The
defendant understands that the defendant has a continuing obligation to pay in full as

soon as possible any financial obligation imposed by the Court. The defendant further

agrees as follows:

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a. The defendant agrees that the financial statement, with any supporting
documents, the defendant provides to the USPO may be shared with the
Court and the government.

b. The defendant shall submit to interviews by the government and the
USPO regarding the defendant’s capacity to satisfy any fine, restitution,
or special assessment.

c. The defendant expressly authorizes the United States Attorney’s Office
to immediately obtain a credit report on the defendant to evaluate the
defendant’s ability to satisfy any financial obligation imposed by the
Court.

10. Government’s agreement: The government will not bring any additional
charges against the defendant based upon the conduct underlying and related to the
defendant’s plea of guilty. The government will move to dismiss, after sentencing, any
remaining charges in the pending indictment or information. This agreement is limited to
the United States Attorney’s Office for the Northern District of Texas and does not bind
any other federal, state, or local prosecuting authorities, nor does it prohibit any civil or
administrative proceeding against the defendant or any property.

11. Violation of agreement: The defendant understands that if the defendant
violates any provision of this agreement, or if the defendant’s guilty plea is vacated or
withdrawn, the government will be free from any obligations of the agreement and free to
prosecute the defendant for all offenses of which it has knowledge, including the

reinstatement of charges dismissed pursuant to this plea agreement. In'the event of such

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a violation, vacatur, or withdrawal, the defendant waives all objections based upon delay
in prosecution. If the plea is vacated or withdrawn for any reason other than a finding
that it was involuntary, the defendant also waives all objections to the use against the
defendant of any information or statements the defendant has provided to the
government, and any resulting leads.

12. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement, There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

13. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives the defendant’s rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C.

§ 3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an
amount to be determined by the Court. The defendant further waives the defendant’s
right to contest the conviction, sentence, fine and order of restitution or forfeiture in any
collateral proceeding, including proceedings under 28 U.S.C. § 2241 and 28 U.S.C.

§ 2255. The defendant, however, reserves the rights (a) to bring a direct appeal of (i) a
sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at
sentencing, (b) to challenge the voluntariness of the defendant’s plea of guilty or this
waiver, and (c) to bring a claim of ineffective assistance of counsel.

14. Representation of counsel: The defendant has thoroughly reviewed all
legal and factual aspects of this case with the defendant’s attorney and is fully satisfied

with that attorney’s legal representation. The defendant has received from the

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defendant’s attorney explanations satisfactory to the defendant concerning each
paragraph of this plea agreement, each of the defendant’s rights affected by this
agreement, and the alternatives available to the defendant other than entering into this
agreement. Because the defendant concedes that the defendant is guilty, and after
conferring with the defendant’s attorney, the defendant has concluded that it is in the
defendant’s best interest to enter into this plea agreement and all its terms, rather than to
proceed to trial in this case.

15. Entirety of agreement: This document, including any Supplement filed
contemporaneously, is a complete statement of the parties’ agreement and may not be
modified unless the modification is in writing and signed by all parties. This agreement
supersedes any and all other promises, representations, understandings, and agreements
that are or were made between the parties at any time before the guilty plea is entered in
court. No promises or representations have been made by the United States except as set

forth in writing in this plea agreement.

AGREED TO AND SIGNED thig}®* tay of RMwyor , 2023.

LEIGHA SIMONTON
UNITED STATES ATTORNEY

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fULIO ADRIAN SANCHEZ | JUSTIN BECK
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J. WARREN ST. JOHN
Attorney for Defendant Deputy Branch Chief

I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attomey. I fully understand it and voluntarily agree to it.

6007 at
JULIO'ADRIAN SANEH Date
Defendant

I am the defendant’s attorney. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and belief, my client’s decision to enter
into this plea agreement is afi informed and voluntary one.

xy Bad AY
J. WARREN ST. JOHN Date
Attorney for Defendant

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